CASE 0:24-cv-00434-DWF-ECW   Doc. 10-3   Filed 03/13/24   Page 1 of 7




                                                               EXHIBIT 3
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-3   Filed 03/13/24   Page 2 of 7




                                                               EXHIBIT 3
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-3   Filed 03/13/24   Page 3 of 7




                                                               EXHIBIT 3
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-3   Filed 03/13/24   Page 4 of 7




                                                               EXHIBIT 3
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-3   Filed 03/13/24   Page 5 of 7




                                                               EXHIBIT 3
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-3   Filed 03/13/24   Page 6 of 7




                                                               EXHIBIT 3
CASE 0:24-cv-00434-DWF-ECW   Doc. 10-3   Filed 03/13/24   Page 7 of 7




                                                               EXHIBIT 3
